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                          EXHIBIT B
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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN

  MICHAEL BOWMAN, individually
  and on behalf of all others similarly           Case No. 17-cv-11630-NGE
  situated,
                                                  Hon. Nancy G. Edmunds
                             Plaintiff,
  v.                                              Mag. R. Steven Whalen

  ART VAN FURNITURE, INC., a
  Michigan corporation,

                             Defendant.


                   DECLARATION OF STEVEN L. WOODROW

  I, Steven L. Woodrow, declare as follows:

        1.     I am over the age of eighteen (18) and am one of the attorneys for the

  plaintiff in this matter who is seeking the Court's appointment as Settlement Class

  Counsel. I make this declaration in support of Plaintiff’s Motion for Preliminary

  Approval of the Class Action Settlement Agreement reached in the above

  captioned litigation.

        2.     I make the following statements based upon my own personal

  knowledge and based on facts learned during the litigation of this case, and I am

  able to testify to the matters set forth herein if called upon to do so.

  Class Counsel’s Pre-Suit Investigation and Early Litigation

        3.     Prior to this lawsuit ever being filed, my firm conducted an extensive



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  investigation into Art Van Furniture, Inc. (“Art Van” or “Defendant”) and its

  alleged making of telemarketing calls to consumers. This investigation included

  reviewing and analyzing publicly-available information regarding Art Van and its

  operations as well as its marketing activities. This included a review of available

  information regarding Art Van’s telemarketing activities and corresponding

  complaints, including Art Van's use of social media platforms to advertise events

  and sales that were being promoted in its telemarketing campaigns.

         4.     Based on the information provided by Plaintiff Michael Bowman as

  well as our in-depth investigation, we had a good faith basis for concluding that

  Art Van used a pre-recorded voice to make calls as part of its calling campaigns.

  We further were able to discern a good faith basis for alleging that Art Van lacked

  oral prior express consent to place such calls, and that it never obtained written

  prior express consent. We were also able to determine that the calls most likely

  constituted telemarketing as they allegedly encouraged the purchase of Art Van

  furniture on or after the calls.

         5.     Based on such conclusions, we were able to allege that Defendant

  violated the Telephone Consumer Protection Act (“TCPA”) not only with respect

  to Bowman but en masse with respect to hundreds or thousands of other people.

         6.     Thereafter, we drafted and revised the pleadings in this case and filed

  the lawsuit on behalf of Plaintiff Bowman and a nationwide class of similarly-



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  situated telephone users.

        7.     Thereafter, we worked to obtain service and prepared to litigate the

  case, including the preparation of early outlines of necessary discovery and

  conferences regarding our overall case strategy.

  The Parties Commence Early Settlement Discussions

        8.     Following the filing of the initial Complaint, counsel for the parties

  engaged in early discussions regarding their respective views of the case as well as

  to exchange preliminary factual details. These discussions included myself, Steven

  Woodrow, and Art Van's General Counsel.

        9.     Shortly thereafter, lawyers from the Detroit-based law firm of

  Dykema Gossett PLLC appeared on behalf of Art Van. The talks that had

  previously taken place with Art Van's general counsel shifted to its outside

  lawyers. Through these discussions we were able to engage in additional informal

  fact-finding, which uncovered that the calls at issue were made to Mr. Bowman’s

  landline telephone and had been forwarded to his cellphone. Based on this

  information Art Van was able to identify the calls it placed to Bowman.

        10.    Given that the calls were not made directly to his cellphone, on July

  12, 2017, Bowman filed a First Amended Complaint, which clarified the fact that

  he had received pre-recorded voice calls on his residential landline phone.

        11.    On August 21, 2017, Art Van’s lawyers at Dykema Gossett filed a



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  Motion to Withdraw and new counsel from the law firm of Kellogg, Hansen, Todd,

  Figel & Frederick, P.L.L.C. (a Washington D.C.-based litigation and trial

  powerhouse) appeared in the case along with Martin Jaszczuk of Jaszczuk PC (a

  very well-respected and well-known TCPA defense lawyer).

        12.    Art Van filed a Motion to Dismiss and Strike Class Allegations.

  Shortly thereafter—and in the midst of preparations for the hearing regarding Art

  Van’s Motion to Dismiss—counsel for both Parties began discussing the potential

  for engaging in early settlement negotiations. A primary driver of such discussions

  was the realization that, even if the litigation proved to be successful, a judgment

  worth billions of dollars would have forced Art Van into bankruptcy.

        13.    Given these realities, both parties agreed to further engage in

  settlement discussions through a formal mediation process by scheduling a

  mediation with the Honorable Morton J. Denlow (ret.) of JAMS in Chicago.

  Magistrate Judge Denlow has substantial experience mediating consumer class

  actions in general and TCPA class actions specifically. Indeed, Magistrate Judge

  Denlow has aided parties in achieving some of the largest TCPA class action

  settlements in the Country.

        14.    Prior to the mediation, and in accordance with Magistrate Judge

  Denlow's procedures, the parties exchanged critical information regarding the

  number of persons called, the total number of calls at issue, and the general



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  framework of Art Van’s calling campaigns. The information revealed that the class

  size was in the range of 1 million (mostly former) customers. Ultimately Art Van,

  through its vendor, located 1,150,000 individual phone numbers called during the

  4-year period preceding the filing of the original Complaint, representing the

  approximate class size. Art Van’s data also includes the names and addresses for

  all but roughly 20,000 to 40,000 individual phone numbers.

        15.    Hence, in the lead up to the mediation, and as part of the mediation

  process, the parties exchanged updated information regarding the size and scope of

  the proposed class as well as Art Van’s planned defenses. In accordance with the

  mediator's procedures, which includes a detailed checklist of proposed terms, the

  Parties also exchanged mediation briefs and proposed class action settlement

  terms, including the class definition, the type of relief (common fund or

  prospective relief or both), and a proposed notice plan. These briefs and the

  mediator's checklist helped set up the mediation session for a productive

  conversation regarding the settlement framework.

        16.    Despite a constructive full-day mediation session in Chicago

  facilitated by Magistrate Judge Denlow, the parties were unable to reach an

  agreement in principle at the mediation session itself. The parties agreed to proceed

  with the previously scheduled hearing on Art Van’s Motion to Dismiss and to

  Strike Class Allegations.



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        17.      However, the parties also agreed to continue discussions regarding a

  possible settlement to see if the matter could be resolved prior to the hearing on Art

  Van's Motion to Dismiss and to Strike Class Allegations. Hence, between the close

  of the mediation and the scheduled hearing, Judge Denlow worked with the Parties

  on a parallel settlement track by engaging counsel on both sides in a series of

  telephone negotiations.

        18.      Several days prior to the hearing on Art Van's Motion to Dismiss, the

  parties reached an agreement in principle with respect to the relief to be provided

  to the proposed Settlement Class Members. Only after an agreement with respect

  to the Class Members was reached in principle did counsel for the parties discuss,

  through their exchange of drafts of documents, the issues of reasonable attorneys’

  fees for proposed class counsel as well as an incentive award for the class

  representatives.

        19.      Thereafter, counsel for the parties worked to draft the settlement

  agreement, claim form, and all of the notices. During this time any additional

  issues that arose were resolved following further discussions between counsel for

  the Parties.

  Proposed Class Counsel’s Opinion of the Settlement Agreement

        20.      The terms of the Settlement Agreement are unquestionably strong,

  particularly when weighed against other TCPA settlements reached to date.



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        21.    The strength of the Settlement is probably most evident when viewed

  in light of the potential defenses and the possibility of a prolonged and extensive

  litigation process. Art Van was set to argue that this case could never be certified

  as a class action, that its calls were not telemarketing calls, and that the law should

  not be construed so as to put the company on the hook for billions of dollars in

  damages for phone calls that it made. Art Van's counsel also made the point that,

  even if Plaintiff and the class members could overcome the company's defenses,

  Art Van would likely be rendered insolvent by any meaningful judgment, thereby

  making any possible substantial recovery difficult and protracted.

        22.    My firm, along with co-counsel Stefan Coleman of the Law Offices of

  Stefan Coleman, P.A., have extensive experience litigating TCPA class actions and

  have devoted substantial resources to the present litigation. We will continue to do

  so. (See Firm Resumes, attached hereto as Exhibits 1 and 2.). We support this

  Settlement as being fair, reasonable, and adequate and in the best interest of the

  Settlement Class. The amount afforded to the proposed Settlement Class falls

  squarely in the range of dollar amounts approved by courts overseeing TCPA class

  action settlements all across the Country, and the instant settlement affords strong

  prospective relief designed to reduce (if not wholly eliminate) the making of these

  unwanted calls.

        Further affiant sayeth not.



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       Signed under penalty of perjury this 26th day of April 2018 in Denver,

  Colorado.



                                             /s/ Steven L. Woodrow
                                             Steven L. Woodrow




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                           EXHIBIT 1
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                            WOODROW & PELUSO, LLC FIRM RESUME

          WOODROW & PELUSO, LLC (“Woodrow & Peluso” or the “firm”) is a plaintiff’s class
  action and commercial litigation firm based in Denver, Colorado. The firm files cases across the
  Country.

           Our attorneys have over a decade of experience successfully representing consumers and
  small businesses in matters nationwide. From litigation under the Telephone Consumer Protection
  Act, 47 U.S.C. § 227 et seq., to cases enforcing the rights of job applicants and employees under
  the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq., to appeals of first impression, our lawyers
  have litigated and favorably resolved numerous legal disputes to the satisfaction of our clients. At
  Woodrow & Peluso, LLC, we take special pride in the quality of our work product and strive
  tirelessly to achieve the best results for every client. Descriptions of our three primary practice
  areas—(1) Consumer Class Actions, (2) Commercial Litigation, and (3) Appeals—and key
  personnel follow.

                                       OUR PRACTICE AREAS

  1.     CONSUMER CLASS ACTIONS

          The majority of the firm’s caseload focuses on consumer class actions. These cases include
  class actions alleging violations of statutes, such as the Fair Credit Reporting Act, the Telephone
  Consumer Protection Act, and the Truth-in-Lending Act, as well as class actions challenging
  systematic breaches of contract and advancing other common law theories.

         TCPA Class Actions

          Woodrow & Peluso attorneys have successfully litigated and settled numerous class actions
  challenging violations of the Telephone Consumer Protection Act. To date we have filed,
  prosecuted, and resolved using various settlement models TCPA cases against major corporations
  and entities including Rita's Italian Ice, Global Marketing Research Services, LKQ Corporation,
  J.B. Hunt, Altisource, Acurian, Price Self Storage, Local Lighthouse, Geekatoo, and the University
  of South Carolina, among others. Our firm’s attorneys have substantial experience prosecuting
  such claims, including class actions challenging the unlawful transmission of text messages, the
  sending of unlawful facsimiles, the placement of “robocalls” featuring a pre-recorded voice to
  residential landline phones, and the use of automatic telephone dialing systems, including
  predictive dialers, to call consumer cell phones.

         Notable TCPA cases and settlements include:

         • Wendell H. Stone & Co. v. LKQ Corporation, 16-cv-07648 (N.D. Ill) (Kennelly, J.)
         (granting final approval to all-in, non-reversionary, settlement fund of $3,266,500) (final
         approval granted May 16, 2017).

         • Martin et al. v. Global Marketing Research Services, Inc., 6:14-cv-1290-ORL-31-KRS
         (M.D. FL) (Woodrow & Peluso appointed co-lead Settlement Class Counsel in
         settlement creating $10 million fund for class of 688,500 cellphone users) (final approval
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         granted November 4, 2016);

         • Mendez v. Price Self Storage Management, Inc., 3:15-cv-02077-AJB-JLB (S.D. CA)
         (Woodrow & Peluso appointed co-lead Settlement Class Counsel in TCPA settlement
         providing option of $750 cash or $1,100 in storage certificates) (final approval granted
         August 23, 2016);

         • Sherry Brown and Ericka Newby v. Rita's Water Ice Franchise Company, LLC,
         2:15-cv-03509-TJS (E.D. PA) ("all in" non-reversionary $3,000,000 settlement fund for
         text messages) (final approval granted March 20, 2017);

         • Morris et al v. SolarCity, Inc. 3:15-cv-05107 (N.D. CA) (JPA with counsel on $15
         million common fund TCPA settlement).

          Further, while a Partner with his prior law firm, Woodrow & Peluso attorney Steven
  Woodrow was appointed interim co-lead class counsel in a TCPA class action against Nationstar
  Mortgage, LLC (see Jordan et al v. Nationstar Mortgage LLC, 3:14-cv-00787-WHO) and led
  TCPA litigation that resolved favorably against Bankrate Inc., and Carfax.com. Mr. Woodrow
  was also involved in the TCPA settlement reached in Weinstein v. The Timberland Co. et al.
  (N.D. Ill.), a text messaging class action featuring 40,000 unauthorized messages, and was part
  of the appellate strategy team that secured the landmark decision in Satterfield v. Simon &
  Schuster, Inc., 569 F.3d 946 (9th Cir. 2009), the first federal appellate decision to affirm that text
  messages are covered as “calls” under the TCPA.

         FCRA Class Actions

          The second sub-focus within the firm’s class action practice consists of cases under the
  Fair Credit Reporting Act (“FCRA”), which regulates the procurement and use of consumer
  reports by employers when they make hiring/firing/pay decisions. To date, the firm has
  successfully represented clients in putative class actions against Terminix, ServiceMaster,
  TrueBlue Inc./Labor-Ready Mid-Atlantic, FedEx, Tyler Staffing Services, Inc., Great Lakes
  Wine & Spirits, Freeman Webb, Inc., and others. This includes Woodford v. World Emblem
  1:15-cv-02983-ELR, an FCRA settlement providing between $315 and $400 to claimants (final
  approval granted January 23, 2017).

         Banking and Financial Institutions Class Actions

         Our attorneys have substantial experience representing consumers in class action litigation
  involving national banking associations and other financial institutions. Meaningful
  representations include:

                        Schulken v. Washington Mut. Bank, No. 09-CV-02708-LHK, 2012 WL
                         28099, at *15 (N.D. Cal. Jan. 5, 2012). Attorney Steven Woodrow secured
                         prior firm’s appointment as Class Counsel from Judge Lucy Koh in class
                         action challenging JPMorgan Chase Bank, N.A.’s suspension of former
                         WaMu home equity line of credit accounts. Case settled with Mr.
                         Woodrow’s appointment as co-lead settlement class counsel.


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                       In re JPMorgan Chase Bank, N.A. Home Equity Line of Credit Litigation,
                        MDL No. 2167. Attorney Steven Woodrow helped secure transfer by the
                        Judicial Panel on Multidistrict Litigation to the Northern District of Illinois
                        and appointment of prior firm as interim class counsel. Attorney Woodrow
                        also negotiated and was also appointed co-lead settlement class counsel in
                        settlement projected to restore between $3 billion - $5 billion in credit to
                        affected borrowers in addition to cash payments.

                       Hamilton v. Wells Fargo Bank, N.A., 4:09-cv-04152-CW (N.D. Cal.).
                        Attorney Steven Woodrow served as co-lead settlement counsel in class
                        action challenging Wells Fargo’s suspensions of home equity lines of credit.
                        Nationwide settlement restored access to over $1 billion in credit and
                        provided industry leading service enhancements and injunctive relief.

                       In re Citibank HELOC Reduction Litigation, 09-CV-0350-MMC (N.D.
                        Cal.). Attorney Steven Woodrow was appointed interim co-lead counsel
                        and settlement class counsel in class actions challenging Citibank’s
                        suspensions of home equity lines of credit. The settlement was estimated to
                        have restored over $650,000,000 worth of credit to affected borrowers.

                       Vess v. Bank of America, N.A. 10cv920–AJB(WVG) (S.D. Cal.). Attorney
                        Steven Woodrow negotiated class action settlement with Bank of America
                        challenging suspension and reduction of home equity lines of credit.

                       Wigod v. Wells Fargo, No. 10-cv-2348 (N.D. Ill.). Steven Woodrow
                        secured the first appellate decision in the country recognizing the right of
                        homeowners to sue under state law to enforce HAMP trial plan agreements.
                        Attorney Steven Woodrow was appointed co-lead settlement counsel
                        providing loan modifications and cash payments to affected borrowers.

         General Consumer Protection Class Actions

          Woodrow & Peluso attorneys have additionally successfully prosecuted and resolved
  countless class action suits against other companies for a range of consumer protection issues. For
  example, Woodrow & Peluso filed the first class action in the Country to challenge the marijuana
  industry’s use of certain allegedly dangerous fungicides and pesticides and were the first lawyers
  to bring class actions (against the Colorado Rockies Baseball Club and Kroenke Sports &
  Entertainment, LLC) seeking to enforce the Colorado Consumer Protection Act, § 6-1- 718 et seq.,
  which prohibits owners of entertainment venues from imposing restrictions on the resale of tickets.
  The firm has also brought and litigated class actions against hospitals for their use of
  “chargemaster” billing rates and are presently engaged in litigation against Southwest Airlines
  related to its “Companion Pass” program.

          Woodrow & Peluso LLC has also brought claims against major food manufacturers and
  distributors for falsely advertising certain products as “All Natural” and “Made in U.S.A.” Our
  attorneys also have experience litigating class claims regarding missing or misappropriated
  “bitcoins.” Woodrow & Peluso also brought the first class action in Colorado against cannabis


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  growers for their use of unapproved and harmful pesticides.

  2.     COMMERCIAL LITIGATION

          As small business owners, we understand and appreciate the challenges that new
  companies face as they strive to make headway in the market. Our attorneys regularly counsel
  small to medium-sized businesses and have represented such companies in a wide range of general
  commercial litigation matters including partnership and business disputes, breaches of contracts
  and term sheets, and claims charging company managers and members of breach of fiduciary duty,
  breach of contract, fraud, and fraudulent/preferential transfers. We regularly advise clients on
  matters and contracts involving millions of dollars, and our attorneys have successfully represented
  businesses and other entities in mediations, arbitrations, and trial.

  3.     APPEALS

          Our attorneys have substantial experience handling appeals at both the state and federal
  level. Representative appeals worked on predominately by our attorneys include:

                        Wigod v. Wells Fargo Bank, N.A., 673 F.3d 547 (7th Cir. 2012). Attorney
                         Steven Woodrow briefed and argued this appeal resulting in the first
                         federal appellate decision holding that banks may be sued under state law
                         for violations of the federal government’s Home Affordable Modification
                         Program. The opinion has been cited over 1,300 times by courts, litigants,
                         and commentators throughout the Country and is widely regarded as the
                         leading authority on the rights and obligations of HAMP servicers and
                         borrowers.

                        Robins v. Spokeo, 742 F.3d 409 (9th Cir. 2014). Attorney Steven Woodrow
                         argued a federal appeal reversing dismissal and upholding consumer rights
                         under the Fair Credit Reporting Act against one of the nation’s largest
                         online data aggregators regarding whether a plaintiff who does not suffer
                         tangible pecuniary loss may still show legal harm to satisfy Article III
                         standing. The case was reversed on writ of certiorari to the United States
                         Supreme Court (argued by different attorneys).

                        Equity Residential Properties Mgmt. Corp. v. Nasolo, 364 Ill. App. 3d 26,
                         28, 847 N.E.2d 126, 128 (2006). Attorney Steven Woodrow helped author
                         the winning brief in this landmark landlord/tenant appeal defining the
                         requirements for constructive service and due process for Illinois evictions
                         under the Illinois Forcible Entry and Detainer Act. 735 ILCS 5/9–107 et
                         seq.

                        Fuentes v. Kroenke Sports & Entertainment, LLC, Case No. 2014CV32619.
                         Woodrow & Peluso appealed grant of summary judgment in favor of
                         defendant finding that the Colorado Consumer Protection Act, 6-1-701 et




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                         seq. does not allow for class actions. Case settled prior to the resolution of
                         the appeal.

                                          OUR ATTORNEYS

         At present, our firm consists of 3 attorneys whose relevant experience is set forth below.

  STEVEN LEZELL WOODROW has over a decade of experience advising consumers and small
  businesses in high stakes litigation.

  Steven briefed and delivered the winning argument in the landmark federal appellate court decision
  Wigod v. Wells Fargo Bank, N.A., 673 F.3d 547 (7th Cir. 2012) holding banks accountable for
  violations of the federal Home Affordable Modification Program. The opinion is widely regarded
  as the leading authority on the rights and obligations of HAMP servicers and borrowers. Steven
  also delivered the winning oral argument in Robins v. Spokeo, 742 F.3d 409 (9th Cir. 2014), a
  federal appeal upholding consumer rights under the Fair Credit Reporting Act against one of the
  nation’s largest online data aggregators. The case and the Supreme Court decision that ultimately
  reversed it (and now the Ninth Circuit's decision to re-affirm its prior finding of Article III
  standing) present some of the most widely-litigated issues in class action practice today.

  Mr. Woodrow was appointed lead class counsel in litigation against JPMorgan Chase Bank,
  N.A. challenging the bank’s 4506-T HELOC suspension program and was appointed lead
  settlement class counsel in other HELOC suspension litigation against Wells Fargo Bank, N.A.,
  Citibank, N.A., Chase, Bank of America, N.A. and PNC Bank.

  Mr. Woodrow also led the legal team that secured a preliminary injunction freezing the U.S. assets
  of Mark Karpeles, the former head of the failed Bitcoin exchange known as Mt. Gox, as well as
  an order compelling Mr. Karpeles to personally appear in the United States for a
  deposition in connection with Mt. Gox’s Chapter 15 bankruptcy case in Dallas Texas.

  Steven has also litigated putative class actions under the Telephone Consumer Protection Act, and
  courts have appointed him to serve as class counsel in nationwide settlements against cellphone
  companies, aggregators, and mobile content providers related to unfair billing practices, including
  Paluzzi v. Cellco Partnership, Williams v. Motricity, Inc., and Walker v. OpenMarket Inc.

  Steven has also served as an Adjunct Professor of Law at the Illinois Institute of
  Technology Chicago-Kent College of Law, where he co-taught a seminar on class actions. Prior
  to founding Woodrow & Peluso, Steven was a partner at prominent class action technology firm
  in Chicago.

  Before that, he worked as a litigator at a Chicago boutique where he tried and arbitrated a range of
  consumer protection, landlord tenant, and real estate matters.

  EDUCATION
  Chicago-Kent College of Law, J.D., High Honors, 2005
  The University of Michigan-Ann Arbor, B.A, Political Science, with Distinction, 2002



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  ADMISSIONS
  State of Illinois (2005)
  State of Colorado (2011)
  United States Court of Appeals for the Seventh Circuit
  United States Court of Appeals for the Ninth Circuit
  United States District Court, Northern District of Illinois
  United States District Court, District of Colorado
  United States District Court, Eastern District of Michigan
  United States District Court, Western District of Michigan
  United States District Court, District of New Mexico

  PATRICK H. PELUSO specializes in plaintiff-side consumer class actions.

  With a true passion for protecting consumers and their rights, Patrick aggressively pursues class
  action lawsuits against companies who violate those rights.

  Through these lawsuits, he is able to force law-breaking companies to compensate the people they
  have harmed and correct their future practices. Patrick possesses the skills, strategic vision, and
  moxie to achieve excellent results for the people he represents. He has experience working with a
  broad range of consumer protection laws including the Fair Credit Reporting Act, the Telephone
  Consumer Protection Act, and various state consumer protection and consumer fraud statutes.

  Patrick received his law degree from the University of Denver, Sturm College of Law where he
  was Editor-in-Chief of an academic journal. During law school, Patrick worked with a leading
  consumer class action law firm and held legal internships with a federal administrative judge and
  the legal department of a publicly traded corporation. Before law school, Patrick attended New
  York University, where he graduated with a B.S. and played on the school’s club baseball team.

  Patrick grew up in Baltimore, Maryland and now resides in Denver, Colorado.

  EDUCATION
  University of Denver, J.D. 2014
  New York University, B.S.

  ADMISSIONS
  State of Colorado (2014)
  United States District Court, District of Colorado
  United States District Court, District of New Mexico
  United States District Court, Eastern District of Michigan
  United States District Court, Northern District of Illinois
  United States District Court, Western District of Wisconsin




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  TAYLOR TRUE SMITH focuses his practice on consumer class actions.


  Throughout his life and career, Taylor has developed a passion for consumer advocacy. By
  pursuing class actions on behalf of consumers, Taylor can give consumers not just a voice but
  also a seat at the bargaining table.

  Taylor received his law degree from the Creighton University School of Law. During law school,
  he interned with the South Dakota Supreme Court. Prior to beginning law school, Taylor
  attended South Dakota State University where he earned a B.S. in Economics.

  Taylor was raised in Fort Pierre, South Dakota and currently resides in Denver, Colorado.

  Education
  Creighton University School of Law, J.D. Cum Laude 2017
  South Dakota State University, B.S. Magna Cum Laude 2013

  Admissions
  State of Colorado (2017)
  United States District Court, District of Colorado
  United States District Court, Eastern District of Michigan
  United States District Court, Northern District of Illinois




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 LAW OFFICES OF                                                    201 S Biscayne Blvd, 28th Floor, Miami, Fl 33131
                                                                   1072 Madison Ave, Ste 1, Lakewood, NJ 08701
 STEFAN COLEMAN, LLC                                               1309 Jerich Tpke, New Hyde Park, NY 11040




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                                             The Law Firm Resume

 The Law Offices of Stefan Coleman is a dynamic law firm that concentrates its practice on
 consumer law and technology. The core of the law firm is based on an in-depth knowledge of an
 ever-evolving technology and its impact on the law. Specifically, the firm has devoted much of its
 practice to protecting consumer’s privacy rights as well as protecting consumer’s from product
 defects and false advertisements. The firm also works on behalf of companies to alert them to the
 most recent changes and evolutions in the law as it applies to their industry as well as litigating class
 action cases. The firm has participated in a number of significant class actions on behalf of
 consumers.

 Stefan Coleman, Esq. is a graduate of the University of Virginia and the University of Miami School
 of Law. He has practiced law for over ten years in which time he has participated in a number of
 significant class actions on behalf of consumers. The following is a brief list of some of the class
 actions that he has participated in.

 Love v. IdeaVillage Products Corp et al, a consumer class action in which certain purchasers could
 recover a full refund for their purchase of an alleged defective product sold by the defendant. This
 case resulted in the defendant changing its business practice.

 Xexo v. iRenew Bio Energy Solutions et al, a consumer class action in which purchasers of the
 iRenew bracelet recovered for the alleged false advertising by the defendant.

 In re Jiffy Lube, a Telephone Consumer Protection Act case that resulted in a $35 million recovery
 for consumers for the unsolicited text message advertising. Several major issues of law were settled
 in this case resulting in a massive victory for consumers.

 Pimental v. Google Inc., a Telephone Consumer Protection Act case that resulted in a $6 million
 settlement for consumers who received a text message from Google’s Slide app.

 Woodman v. ADP Dealer Services, Inc., et al., a Telephone Consumer Protection Act case that
 resulted in a $7.5 million settlement for consumers who received unsolicited text messages
 promoting car sales.

 Lanza v. Palm Beach Holdings., et al., a Telephone Consumer Protection Act case that resulted in a
 $6.5 million settlement for consumers who received unsolicited text messages.

 Kolinek v Walgreen, Co. a Telephone Consumer Protection Act case that resulted in an $11 million
 settlement for consumers who received unsolicited calls to their cell phone.




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                                                               1072 Madison Ave, Ste 1, Lakewood, NJ 08701
 STEFAN COLEMAN, LLC                                           1309 Jerich Tpke, New Hyde Park, NY 11040




 Hopwood v. Nuance Communications., et al., a Telephone Consumer Protection Act case that
 resulted in a $9.24 million settlement for consumers who received unsolicited calls.

 Flanigan v. The Warranty Group, Inc. and American Protection Plans LLC d/b/a American
 Residential Warranty., a Telephone Consumer Protection Act case that resulted in a $16 million
 settlement for consumers who received unsolicited calls.

 Martin v. Global Marketing Research Services, a Telephone Consumer Protection Act case that
 resulted in a $10 million fund for consumers who received unsolicited calls.

 Stone & Co.,. v. LKQ Corporation, a Telephone Consumer Protection Act case that resulted in a
 $3.26 million fund for consumers who received a fax from the defendant.




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